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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA                         SUPERSEDING
                                                  INDICTMENT

                      v.                          Case No. 3:19-cr-42

                                                  Violations: 18 U.S.C. §§229(a)(1) and
 SIJIE LIU                                        (2), 1001, and 1342

                                      COUNT ONE

                                    False Statements

The Grand Jury Charges:

       On or about March 5, 2019, within the District of North Dakota,

                                        SIJIE LIU

did knowingly and willfully make false, fictitious, and fraudulent statements to an officer

with the United States Bureau of Customs and Border Protection concerning facts

material to a matter within the jurisdiction of the United States Bureau of Customs and

Border Protection, an agency of the United States. Specifically, defendant stated that

defendant was seeking entry into the United States only for the purpose of shopping in

Grand Forks, North Dakota, This statement was false in that, at the time defendant was

seeking entry into the United States, defendant failed to disclose that defendant intended

to travel to a mail-receiving business in Pembina, North Dakota, for the purpose of

obtaining packages, including a package containing what defendant believed was a toxin,

which defendant had previously ordered on the Internet;

       In violation of Title 18, United States Code, Section 1001.
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                                     COUNT TWO

                          Attempt to Acquire a Chemical Weapon

      Between on or about February 15, 2019, and March 5, 2019, in the District of North

Dakota, and elsewhere,

                                       SIJIE LIU

knowingly attempted to acquire, transfer directly and indirectly, receive, retain, own,

possess, and use, and threaten to use a chemical weapon;

      In violation of Title 18, United States Code, Sections 229(a)(1) and (2).
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                                    COUNT THREE

                              Fictitious Name or Address

       On or about March 5, 2018, in the District of North Dakota, and elsewhere,

                                        SIJIE LIU

did knowingly, for the purpose of conducting, promoting, and carrying on by means of the

United States Postal Service, any scheme mentioned in 18 U.S.C. § 1341, and any other

unlawful business, took and received from an authorized depository of mail matter a letter,

postal card, package, and other mail matter addressed to a name other than her own proper

name, that is, SIJIE LIU, accepted a package addressed to “Julie Chen,” for the purpose of

conducting, promoting, and carrying on by means of the United States Postal Service the

unlawful activity charged in Count Two of this Indictment;

        In violation of Title 18, United States Code, Section 1342.

                                                 A TRUE BILL:


                                                 /s/ Foreperson
                                                 Foreperson


/s/ Drew H. Wrigley
DREW H. WRIGLEY
United States Attorney

NWC:ljc
